          Case 3:23-cr-00218-JSC Document 34 Filed 10/13/23 Page 1 of 1



                                      PROPOSED ORDER/COVER SHEET

TO:            Honorable Alex G. Tse                                   RE:    Nicol Palma
               U.S. Magistrate Judge
FROM:          Silvio Lugo, Chief                                      Docket No.:        3:23-cr-00218-JSC-1
               U.S. Pretrial Services Officer

Date:          October 12, 2023

        THE ATTACHED MEMORANDUM WAS PREPARED BY PRETRIAL SERVICES OFFICER:

         Carolyn Truong                                                              510-637-3758

         U.S. Pretrial Services Officer                                      TELEPHONE NUMBER

We are requesting direction from the Court. Please initial the appropriate box(es), and return this form to us so that
we may comply with your instructions.

         I have reviewed the information that you have supplied. I do not believe that this matter requires any
         action by this Court at this time.

 XX      Inform all parties concerned that I will conduct a Bail Review Hearing in Courtroom No. 14 on October
         20, 2023 at 10:00 AM.

         Inform all parties concerned that a Bail Review Hearing will be conducted by:
         Magistrate Judge ____________________ Presiding District Court Judge ____________________

         I agree with the recommendation of the Pretrial Services Officer and hereby modify the defendant’s
         Pretrial Release conditions as indicated below:

                            Modification(s)



         Bail Revoked/Bench Warrant Issued.
         I am returning the signed order and direct that a copy be provided to the Court file and all interested parties
         (AUSA and Defense Counsel).

                            Other Instructions:

         _________________________________________________________________________________

         _________________________________________________________________________________


                                                                 October 13, 2023
         JUDICIAL OFFICER                                     DATE
         Hon. Alex G. Tse
         U.S. Magistrate Judge
